         Case 1:21-cr-00117-RCL Document 209 Filed 02/13/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
      v.                            )               Case No. 1:21-cr-117-1 (TFH)
                                    )
RYAN NICHOLS                        )
                                    )
____________________________________)

                                    NOTICE OF FILING

       Undersigned counsel hereby provides this notice of filing of the declaration of third-party

custodian Bonnie Rae Nichols, pursuant to the Court’s order.


Dated: February 13, 2023

                                                            /s/ Jonathan Gross
                                                            Jonathan Gross
                                                            2833 Smith Ave
                                                            Suite 331
                                                            Baltimore, MD 21209
                                                            (443) 813-0141
                                                            jon@clevengerfirm.com

                                CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                       February 13, 2023.


                                       /s/ Jonathan Gross
